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 7

 8
                                  IN THE UNITED STATES DISTRICT COURT
 9
                                     EASTERN DISTRICT OF CALIFORNIA
10

11   UNITED STATES OF AMERICA,                            CASE NO. 2:11-CR-450 TLN
12                                 Plaintiff,             STIPULATION REGARDING RESENTENCING
                                                          AND ORDER
13                           v.
                                                          DATE: August 3, 2017
14   VERA ZHIRY,                                          TIME: 9:30 a.m.
                                                          COURT: Hon. Troy L. Nunley
15                                 Defendant.
16

17                                                STIPULATION

18          Plaintiff United States of America, by and through its counsel of record, and defendant, by and

19 through defendant’s counsel of record, hereby stipulate as follows:

20          1.       On April 20, 2017, the Ninth Circuit vacated Vera Zhiry’s sentence and remanded the

21 case for resentencing “‘so the district court can consider the factors now listed in amended § 3B1.2’ of

22 the sentencing guidelines.” Dkt. 357.

23          2.       By this stipulation, the parties ask that the Court set the following schedule for Ms.

24 Zhiry’s resentencing:

25                   a)     Zhiry’s opening brief due on July 14, 2017;

26                   b)     The United States’ opposition due on July 21, 2017;

27                   c)     Zhiry’s reply brief due on July 28, 2017; and

28 ////

      STIPULATION REGARDING RESENTENCING                   1
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 1                d)      Zhiry’s resentencing set for August 3, 2017, at 9:30 a.m.

 2         IT IS SO STIPULATED.

 3

 4
     Dated: April 26, 2017                                 PHILLIP A. TALBERT
 5                                                         United States Attorney
 6
                                                           /s/ LEE S. BICKLEY
 7                                                         LEE S. BICKLEY
                                                           Assistant United States Attorney
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 9
     Dated: April 26, 2017                                 /s/ ALEXIS HALLER
10                                                         ALEXIS HALLER
11                                                         Counsel for Defendant
                                                           VERA ZHIRY
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15                                                 ORDER

16         IT IS SO FOUND AND ORDERED this 26th day of April, 2017.

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20                                                         Troy L. Nunley
                                                           United States District Judge
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      STIPULATION REGARDING RESENTENCING               2
